                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA



 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )            No. 1:05-CR-92
 v.                                               )
                                                  )            Chief Judge Curtis L. Collier
                                                  )
 JAMES COULTER                                    )
                                                  )



                                              ORDER

        On March 14, 2006, Magistrate Judge Susan K. Lee filed a report and recommendation

 recommending (a) the Court accept Defendant James Coulter’s (“Defendant”) plea of guilty to

 Count One of the Second Superceding Indictment; (b) the Court adjudicate Defendant guilty of the

 charge set forth in Count One of the Second Superceding Indictment; and (c) Defendant remain in

 custody until sentencing in this matter (Court File No. 166). Neither party filed an objection within

 the given ten days. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation and will accept it.

        Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Court File No. 166) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Second Superceding Indictment is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charge set forth in Count One of the

 Second Superceding Indictment; and

        (3) Defendant SHALL REMAIN in custody until sentencing in this matter.



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       SO ORDERED.

       ENTER:


                                    /s/
                                    CURTIS L. COLLIER
                                    CHIEF UNITED STATES DISTRICT JUDGE




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